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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 IN RE:                                              IN PROCEEDINGS UNDER CHAPTER 7

 PAMELA ANNETTE MOORE                                        CASE NO: 20-06397-JMC-7A

         DEBTOR                                               JUDGE: JAMES M. CARR


         RESPONSE TO MOTION FOR AUTHORITY TO SELL REAL ESTATE

       NOW COMES THE SECURED CREDITOR, Nationstar Mortgage LLC d/b/a Mr.

Cooper, by and through its counsel, and hereby files its Response to the Trustee’s Motion to Sell

Real Estate in the above-captioned matter. Nationstar Mortgage LLC d/b/a Mr. Cooper holds the

first mortgage on the property located at 2331 E Einding Brook Circle, Bloomington, IN 47401.

As such it is entitled to have its first mortgage paid in full from the proceeds of the Sale pursuant

to a payoff provided by Nationstar Mortgage LLC d/b/a Mr. Cooper at the time of closing.

       WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper prays that its mortgage be

paid in full through the date of closing from the proceeds of the Sale.

                                              /s/ Brian K. Tekulve
                                              Law Office of Gerald M. Shapiro, LLP
                                              Matthew Murtland 0088290
                                              Phillip Barragate 0063017
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                                  CERTIFICATE OF SERVICE


        Certifier certifies that it has served a copy of this Notice on November 3, 2021:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court's Electronic Mail Notice List:

        Mark S Zuckerberg, Law Office of Mark S Zuckerberg, P.C., on behalf of Pamela
        Annette Moore, debtor, at filings@mszlaw.com

        Jenice Golson-Dunlap, on behalf of the Chapter 7 Trustee’s office at
        jgolsondunlap@gmail.com

        Joseph L. Mulvey, MULVEY LAW LLC, on behalf of the Chapter 7 Trustee, at
        joseph@mulveylawllc.com

And by regular U.S. mail, postage prepaid, on:

        Pamela Annette Moore, 100 Stonegate Court, Bedford, IN 47421

                                              /s/ Brian K. Tekulve
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                                              Phillip Barragate 0063017
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21-039855 BK01; ob; October 28, 2021
